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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     )      CRIMINAL ACTION NO.
                                              )
             Plaintiff,                       )      1:21-CR-00032-DLF
                                              )
v.                                            )
                                              )
GUY WESLEY REFFITT,                           )
                                              )
             Defendant.                       )
                                              )

        DEFENDANT’S SECOND SUPPLEMENTAL SENTENCING
                       MEMORANDUM

      Since the filing of the Defendant’s First Supplemental Memorandum, there has

been one additional sentencing in which a January 6 defendant received 24 months

or more imprisonment, thereby bringing the total to 14 January 6 defendants

sentenced to 24 months or more imprisonment to date. Again, Undersigned Counsel

obtained the following facts from the government’s sentencing memorandum in this

additional case. As set forth below, the case involved repeated assaults on police

officers by a defendant with a significant history of violent crimes.

      (14) United States v.Ponder, No. 1:21-cr-00259-TSC 63 months

      •Assaulted Police not once, but twice

      •“Ponder charged at U.S. Capitol Police Sergeant A.G. with a long, thin
      pole. He waved that pole aggressively and then attacked Sgt. A.G. by
      swinging the pole at him. A.G. defended himself by raising a round,
      clear riot shield in front of his face. Ponder struck the riot shield with
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      such force that the pole snapped and broke apart as it made contact with
      the shield, and the top portion of the pole flew off to the side. Ponder
      then retreated back into the crowd.”

      •Approximately 15 minutes later, “Ponder swung his striped pole at
      officers like a baseball bat, striking Metropolitan Police Department
      Officer J.C. in the left shoulder.”

      •Despite being escorted off Capitol grounds by law enforcement and
      being ordered not to return, he did return. He then “found his way into
      the densest crowd where the worse fighting was taking place.” There he
      used his riot shield to “either block police as they fought back against
      the crowd or to use the shield to push into police.”

      •“In all, video captured defendant Ponder on Capitol Grounds between
      2:08 p.m. and 5:00 p.m. (even after being detained for a portion of that
      time and told to leave), spending most of that time in locations that had
      some of the most active opposition to police.”

      •Moreover, he had a long criminal history including several violent
      crimes. His prior criminal history included a bank robbery and the car
      jacking of a taxi driver where he ultimately “drove into a second vehicle
      and then reversed, driving the stolen taxi backwards and up onto a
      police cruiser.” In addition, he had separate convictions for domestic
      assault, attempted possession of cocaine, attempted possession with
      intent to distribute cocaine, attempted burglary, and carrying a
      dangerous weapon.

      Putting aside the government’s overdramatic claim that Mr. Reffitt made much

of the events of January 6th “possible,” it makes a mockery of the criminal justice

system, the Sixth Amendment right to trial, and the victims assaulted by Mr. Ponder

to argue that Mr. Reffitt should be given a sentence greater than (let alone three times

greater than) a defendant who assaulted police officers on at least two separate

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occasions, spent three hours on the Capitol grounds and who has a past history of

violence.


                                            Respectfully submitted,

                                            /s/ F. Clinton Broden
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                         CERTIFICATE OF SERVICE

      I, F. Clinton Broden, certify that on July 29, 2022, I caused a copy of the above

document to be served via electronic filing on all counsel of record:


                                                     /s/ F. Clinton Broden
                                                     F. Clinton Broden




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